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             EXHIBIT 1
7/30/2020                      The Baltimore City State's Attorney's Office - Not Forgotten: State’s Attorney Marilyn Mosby Promises to Pursue Killer of 16-Year-Old afte...
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                                                                    Office of the State's Attorney for Baltimore City
    PENGAD 800-631-6989




                             Not Forgotten: State’s Attorney Marilyn Mosby Promises to
                          Pursue Killer of 16-Year-Old after SAO Exonerates Man Convicted
                                                    of her Murder

                    For Immediate Release 5/11/2016

                Today the Baltimore City State's Attorney’s Office exonerated Malcolm Jabbar Bryant for the
                 murder of 16-year-old Toni Bullock.

                   In 1999, Mr. Bryant was convicted of felony murder, second-degree murder, and wearing/carrying/a
                 deadly weapon. On September 9,1999, he was sentenced to life plus 10 years for the murder of
                   Bullock.

                 Since then, Mr. Bryant has maintained his innocence and has been unwavering in this claim for more
                than a decade, exhausting all rights to appeal, initiating several petitions for post-conviction relief,
                 and enlisting the assistance of the University of Baltimore Innocence Project, whom have zealously
                 advocated on his behalf.

                "On behalf of the criminal justice system, I’d like to apologize to Mr. Malcolm Bryant and his family
               for the pain they’ve endured as a result of his wrongful conviction,” said State’s Attorney Marilyn
                  Mosby. "As prosecutors, our duty is to pursue justice equally and fairly under the law for victims,
              witnesses, accusers, and the accused.”

             The re-investigation of this case was handled by Conviction Integrity Unit Division Chief, Lauren
                Lipscomb, Assistant State’s Attorney Michael Leedy, Chief of Investigations Kelvin Sewell and
                 Investigator Avon Mackel.

              On the night of November 20,1998,16-year-old Toni Bullock and a friend were walking back from a
              store on Harford Road, when they were approached by a man who demanded money. When the girls
             told him, "no”, the man grabbed them by their arms and forced them over to a grassy field. The

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     victim’s friend was able to escape, and run home to tell her family what happened. However, the
     victim could not get away from the man and was stabbed three times, in the abdomen, arm and thigh.
     The victim was able to run a short distance away until she collapsed in a gutter. She died at Johns
     Hopkins Hospital.

     The victim’s friend provided a description of the suspect to detectives. A composite sketch was
     generated and given to the media. Another witness told police that she saw a man struggling with
     Bullock, but could not give any specific details except he was a black male. There were no other
     witnesses to this incident.

     In 2011, the court ordered the state to send nail clippings recovered from the victim for DNA
     testing. The DNA report revealed a partial male DNA profile on the nail clippings, which included a
     rare identifier, which did not match Mr. Bryant. Following the revelation of this evidence, the court
     ordered the state to then send the victim’s clothing for DNA testing.

     In 2015, the test for the victim’s T-shirt, where the fatal wound was inflicted, revealed a full male
     DNA profile that matched the partial profile from the nail clippings, including the rare identifier,
     which was inconsistent with Mr. Bryant’s DNA. With the benefit of having additional and more
     advanced DNA testing results the Conviction Integrity Unit began re-investigating the case in
     January of this year.

     During the course of the re-investigation, the team reviewed the trial transcripts, re-interviewed
     state’s witnesses, visited the crime scene, interviewed Mr. Bryant's alibi witnesses, and meticulously
     reviewed the DNA results including interviewing and interrogating the experts. The State’s
     Attorney’s Office found that the strength of the sole identification did not outweigh the strength of
     the DNA evidence, especially in light of the fact that it was an observation that was made for 3 to 4
     seconds in rainy, nighttime conditions while under the stress and strain of being attacked.

     "The only plausible explanation we have for the male DNA’s presence under the victim’s fingernails
     and in the area of the fatal wound on the victim’s t-shirt is that the DNA is in fact the killer’s DNA and
     does not match Malcolm Bryant,” said Lauren Lipscomb, Conviction Integrity Unit Division Chief.
     "This in all probability means Mr. Bryant is not the murderer.”

     The State's Attorney’s Office did not object to today’s granting of the DNA Post-conviction and did
     not seek to retry this case against Malcoim Bryant but rather dismissed it. Judge Peters has ordered
     his release.

     “My heart breaks for the family of Toni Bullock”, said Mosby. "Please know that your daughter is not
     forgotten, and my office will be working with Commissioner Kevin Davis and the Baltimore Police
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     Department do all that we can to investigate and prosecute the man who is truly responsible for
     Toni’s death.”




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